
PER CURIAM.
This court, proceeding in the manner outlined and recommended by the Supreme Court of the United States in Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493, having deferred ruling on a motion of the public defender to withdraw as counsel for the indigent defendant-appellant, and having furnished appellant with a copy of the public defender’s memorandum brief, and having allowed the appellant a reasonable specified time within which to raise any points that he chose in support of his appeal, and the appellant having failed to respond thereto, on consideration thereof upon full examination of the proceedings we conclude that the appeal is wholly frivolous. Turner v. State, 272 So.2d 129 (Fla. 1973); Compare, Rubiera v. Dade County, 305 So.2d 161 (Fla.1974). Whereupon, the public defender’s said motion to withdraw is granted and the order or judgment appealed is hereby affirmed.
